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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                          CASE NO. 4:09cr00296-08 BSM

JOSE PENA                                                                   DEFENDANT

                                         ORDER

       The United States moves to dismiss without prejudice the case against defendant Jose

Pena. [Doc. No. 214]. For good cause shown, the motion is granted and the case against

defendant Jose Pena is dismissed without prejudice. Any active warrant for his arrest in this

case is quashed and should be returned un-executed.

       IT IS SO ORDERED this 7th day of February, 2011.




                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
